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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA




   PATRICK GAYLE, et al.                                                Case No. 20cv21553

   Petitioners,

   v.

   MICHAEL W. MEADE,
   Field Office Director, Miami Field Office, U.S.
   Immigration and Customs Enforcement et al.,

   Respondents.

   ______________________________________________

                     DECLARATION OF ACTING OFFICER IN CHARGE
                                LIANA J. CASTANO

   I, Liana J. Castano, Acting Officer in Charge (OIC), make the following statements under oath and
   subject to the penalty of perjury:

          1. I am employed by U.S. Department of Homeland Security (DHS), Immigration and
             Customs Enforcement (ICE), and currently serve as the Acting OIC of the Krome
             Service Processing Center (Krome). I am also an Assistant Field Office Director
             (AFOD) at Krome. I have held this position since September 2, 2018.

          2. I provide this declaration based on my personal knowledge, belief, reasonable inquiry,
             and information obtained from various records, systems, databases, other DHS
             employees, employees of DHS contract facilities, and information portals maintained
             and relied upon by DHS in the regular course of business. This declaration responds to
             Item 4(b) of the court’s order of June 5, 2020 and is applicable to Krome, Broward
             Transitional Center (BTC), and Glades County Detention Center (Glades).

          3. In accordance with the June 5, 2020 order item 4b, ICE shall submit weekly
             documentation demonstrating our evaluation of each prospective transfer. During the
             6/19/2020 – 6/26/2020 reporting period, ICE transferred a total of 88 detainees, as
             follows:
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                KROME

                a. 4 detainees were transferred to be staged for a scheduled removal flight.
                b. 45 detainees were transferred to Glades County Detention Center after a
                   custody re-evaluation.
                c. 10 detainees were transferred to Baker County Detention Center after a
                   custody re-evaluation
                d. 1 detainee was transferred to another field office after a custody re-evaluation.

                BTC:

                a. 2 detainees were transferred to another field office to be staged for a
                   scheduled removal flight.
                b. 7 detainees were transferred from BTC to Krome based upon risk
                   classification and bed space needs after a custody re-evaluation.

                Glades:

                a. 19 detainees were transferred from Glades County Detention Center to
                   Krome based upon risk classification and bed space needs after a custody re-
                   evaluation.

         4. Each detainee was issued a new mask prior to transfer.

         5. A pre-transfer custody review, as well as a COVID-19 checklist, is attached for each
            detainee referenced above, in accordance with the court’s order.


                                                   Digitally signed by LIANA J
                                                   CASTANO
                                                   Date: 2020.07.01 10:04:01 -04'00'

   DATED: July 1, 2020         _____________________________________
                                     Liana J. Castano
                                     Assistant Field Office Director
                                     Enforcement and Removal Operations
                                     U.S. Immigration and Customs Enforcement
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                           Enforcement and Removal Operations
                          U.S. Department of Homeland Security

                                   Miami Field Office


                              PRE-Transfer Custody Review

Name Ortiz, Nigel                   Alien Number A             865   _ COC_MEXICO      _
Date of Transfer_6/23/2020          _                Date of Review 6/23/2020          _

                                   Detention Authority
    INA 235           INA 236(a)        INA 236(c)         INA 241    俶䢢 Other 212a6Ai_

COVID 19 Risk Factors                Yes                  No 俶䢢

Criminal History                     Yes 俶䢢               No


                                   Nature of Transfer

IAO Flight Staging
Hospital
Within Field Office      俶䢢
Out of Field Office
Other                           Comments                                                   _
                                                                                           _


Custody Decision Release             Continue Custody 俶䢢


Reviewed by I.BLANCO D.O.
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